                Case 4:10-cv-00123-DCB Document 1 Filed 02/24/10 Page 1 of 5



 1   Ryan Lee (SBN: 024846)
     Krohn & Moss, Ltd.
 2   10474 Santa Monica Blvd., Suite 401
     Los Angeles, CA 90025
 3   Tel: 323-988-2400 x241
     Fax: 866-583-3695
 4   tmartin@consumerlawcenter.com
 5   Attorneys for Plaintiff, TARA BARDELLA
 6

 7                               UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF ARIZONA
 9

10
     TARA BARDELLA                                )   Case No.:
                                                  )
11
                   Plaintiff,                     )   COMPLAINT AND DEMAND FOR
                                                  )   JURY TRIAL
12
           v.                                     )
                                                  )   (Unlawful Debt Collection Practices)
13
     CREDITORS FINANCIAL GROUP, LLC               )
                                                  )
14
                   Defendant.                     )
                                                  )
15

16                                   PLAINTIFF’S COMPLAINT

17         TARA BARDELLA (Plaintiff), through her attorneys, KROHN & MOSS, LTD., alleges

18   the following against CREDITORS FINANCIAL GROUP, LLC, (Defendant):

19                                         INTRODUCTION

20      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

21         U.S.C. 1692 et seq. (FDCPA).

22                                  JURISDICTION AND VENUE

23      2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

24         actions may be brought and heard before “any appropriate United States district court

25         without regard to the amount in controversy.”


                                                   -1-

                                COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 4:10-cv-00123-DCB Document 1 Filed 02/24/10 Page 2 of 5



 1   3. Defendant conducts business in the State of Arizona, and therefore, personal jurisdiction
 2      is established.
 3   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(1).
 4   5. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.
 5                                          PARTIES
 6   6. Plaintiff is a natural person residing in Tuscon, Arizona.
 7   7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to
 8
        Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).
 9
     8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought
10
        to collect a consumer debt from Plaintiff.
11
     9. Defendant is a collection agency located in Buffalo, New York and conducts business in
12
        Arizona.
13
     10. Defendant acted through its agents, employees, officers, members, directors, heirs,
14
        successors, assigns, principals, trustees, sureties, subrogees, representatives, and
15
        insurers.
16
                                  FACTUAL ALLEGATIONS
17

18   11. Defendant constantly and continuously places collection calls to Plaintiff seeking and

19      demanding payment for an alleged consumer debt.

20   12. Defendant calls Plaintiff at ________ .

21   13. Defendant has repeatedly contacted Plaintiff’s mother at 520-384-3297.
22   14. Defendant called Plaintiff and hung up before Plaintiff or voicemail answered.
23
     15. Defendant placed telephone calls without meaningful disclosure of the caller’s identity.
24
     16. Defendant failed to identify itself as a debt collector in subsequent communications.
25



                                                   -2-

                           COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 4:10-cv-00123-DCB Document 1 Filed 02/24/10 Page 3 of 5



 1                            COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
 2
     17. Defendant violated the FDCPA based on the following:
 3
            a. Defendant violated §1692b(3) of the FDCPA by communicating with Plaintiff’s
 4
               mother more than once without permission to do so and without reasonable belief
 5
               that the earlier response was erroneous or incomplete.
 6
            b. Defendant violated §1692c(b) of the FDCPA by communicating with a third
 7

 8             party, Plaintiff’s mother, in connection with the collection of Plaintiff’s alleged

 9             debt.

10          c. Defendant Violated §1692(d) of the FDCPA by engaging in conduct the natural

11             consequence of which is to harass, oppress, and abuse Plaintiff.
12          d. Defendant violated §1692d(5) of the FDCPA by causing Plaintiff’s telephones to
13
               ring and engaging people in telephone conversation repeatedly and continuously
14
               with the intent to annoy, abuse, and harass Plaintiff.
15
            e. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without
16
               meaningful disclosure of the caller’s identity because Defendant calls Plaintiff
17
               and hangs up without leaving a voicemail message.
18
            f. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an
19

20
               attempt to collect a debt by placing telephone calls without meaningful disclosure

21             of the caller’s identity because Defendant calls Plaintiff and hangs up without

22             leaving a voicemail message.

23          g. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

24             attempt to collect a debt by failing to disclose in subsequent communications that
25
               the communication was from a debt collector


                                                -3-

                          COMPLAINT AND DEMAND FOR JURY TRIAL
              Case 4:10-cv-00123-DCB Document 1 Filed 02/24/10 Page 4 of 5



 1             h. Defendant violated §1692e(11) of the FDCPA by failing to disclose in
 2                 subsequent communications that the communication was from a debt collector.
 3
           WHEREFORE, Plaintiff, TARA BARDELLA, respectfully requests judgment be entered
 4
     against Defendant, CREDITORS FINANCIAL GROUP, LLC, for the following:
 5
        18. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection
 6
           Practices Act,
 7
        19. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15
 8
           U.S.C. 1692k,
 9
        20. Actual damages,
10
        21. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
11
           15 U.S.C. 1692k
12
        22. Any other relief that this Honorable Court deems appropriate.
13
                                    DEMAND FOR JURY TRIAL
14
           Plaintiff, TARA BARDELLA, demands a jury trial in this cause of action.
15
                                                RESPECTFULLY SUBMITTED,
16
      DATED: January 22, 2010                    KROHN & MOSS, LTD.
17

18
                                         By: /s/ Ryan Lee _
                                                 Ryan Lee
19                                               Attorney for Plaintiff
20

21

22

23

24

25



                                                  -4-

                              COMPLAINT AND DEMAND FOR JURY TRIAL
Case 4:10-cv-00123-DCB Document 1 Filed 02/24/10 Page 5 of 5
